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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                    RICHMOND DIVISION



UNITED STATES OF AMERICA


          V.                                            CASE NO. 3:18CR00014-2(REP)
RANIEKA Q. CHAVIS,
       Defendant



                                             ORDER


       This matter is before the court for consideration of a report and recommendation by the

Magistrate Judge regarding the Magistrate Judge's acceptance ofthe Defendant's plea of guilty to

specified charges in the pending matter pursuant to a Fed. R. Grim.P. 11 proceeding conducted by
the Magistrate Judge with the consent ofthe Defendant and counsel. It appearing that the

Magistrate Judge made full inquiry and findings pursuant to Rule 11;that the Defendant was given
notice ofthe right to file specific objections to the report and recommendation that has been

submitted as a result ofthe proceeding; and it further appearing that no objection has been asserted
within the prescribed time period, it is hereby

       ORDERED that the report and recommendation ofthe Magistrate Judge is ADOPTED and

the Defendant is found guilty of Count One ofthe Superseding Indictment.



                                                              /s/
                                              Robert E. Payne
                                              Senior United States District Judge




Date: May       2019
Richmond, Virginia
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